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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                             Case No. 09-20133-10-JWL


Samora McIntosh,

                     Defendant.

                                  MEMORANDUM & ORDER

       This matter is before the court on Mr. McIntosh’s pro se motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. McIntosh asks the court to reduce his sentence

based on Amendment 782 to the United States Sentencing Guidelines. The motion is granted to

the extent set forth below as Mr. McIntosh is entitled to a one-month reduction in his sentence.

       The court sentenced Mr. McIntosh to 67 months’ imprisonment after adjusting the

sentence by 54 months from a low-end guideline sentence of 121 months to reflect the period of

time that Mr. McIntosh had served in Arizona based on the same conduct. See U.S.S.G. §

5G1.3(b)(1). In essence, then, Mr. McIntosh received a low-end guideline sentence of 121

months with an offset for time already served in state custody. While Mr. McIntosh is eligible

for a two-level reduction in his base offense level, he remains subject to the mandatory

minimum sentence of 120 months pursuant to 21 U.S.C. §§ 841(b)(1)(A).1 Thus, the court is


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  Mr. McIntosh received a low-end guideline sentence of 121 months consistent with the
guideline range for imprisonment based on a total offense level of 32 and a criminal history
category of I. Amendment 782 would reduce Mr. McIntosh’s offense level to 30, warranting an
amended guideline range of 97 to 121 months.
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only authorized to grant Mr. McIntosh a one-month reduction, from 121 months to 120 months.

The statutory mandatory minimum precludes the court from sentencing Mr. McIntosh to less

than 120 months. United States v. Randle, 508 Fed. Appx. 766, 768 (10th Cir. 2013) (on §

3582(c) motion, district court has no authority or discretion to depart from a statutorily

mandated minimum sentence).



          IT IS THEREFORE ORDERED BY THE COURT THAT Mr. McIntosh’s motion

for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 1725) is granted as

described herein and Mr. McIntosh’s sentence is reduced from 67 months to 66 months

imprisonment. All other provisions of the judgment dated November 1, 2011 shall remain in

effect.



          IT IS SO ORDERED.



                      4th day of March, 2015, at Kansas City, Kansas.
          Dated this _____

          Effective Date: November 1, 2015.



                                                    s/ John W. Lungstrum
                                                 ______________________________
                                                 John W. Lungstrum
                                                 United States District Judge




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